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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                Plaintiff,

        v.                                               Case No. 06-CR-40029-JPG

 LARRY D. WILLIAMS,

                Defendant.

                                MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Larry D. Williams’s pro se motion for a

reduction of his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States

Sentencing Guideline Manual (“U.S.S.G.”) § 1B1.10 (Doc. 475).

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C.

994(o)” and if “such a reduction is consistent with the applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(2). “If that first condition is not met, a district

court lacks subject-matter jurisdiction to consider the movant’s request for a sentence reduction

under § 3582(c)(2).” United States v. Forman 553 F.3d 585, 588 (7th Cir.2009).

       Williams was sentenced on July 21, 2008. Amendments 706 and 711, which amended

U.S.S.G. § 2D1.1(c), took effect as of November 1, 2007. Therefore, Williams was sentenced

under the Guidelines as amended, and received the benefit at that time of the lowered sentencing

ranges. Accordingly, he was not sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered. Therefore, the Court DISMISSES this Motion for
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lack of jurisdiction (Doc. 475).

IT IS SO ORDERED.
DATED: May 14, 2009

                                                   s/ J. Phil Gilbert
                                                   J. PHIL GILBERT
                                                   DISTRICT JUDGE




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